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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION

                        CASE NO.: 1:23-CV-24497-BECERRA


   UNITED STATES OF AMERICA,
         Plaintiff,
   v.
   FARHAN KHAN, in his individual
   capacity and as de facto owner of
   ALTITUDE PROCESSING, INC.;
   MELINDA PETIT-HOMME, in her
   individual capacity and as an officer of
   ALTITUDE PROCESSING, INC.;
   ALTITUDE PROCESSING, INC., a
   Florida corporation; ALTITUDE
   PROCESSING, INC., a Delaware
   corporation; JEREMY TODD BRILEY,
   in his individual capacity; RSC LLC, a
   Delaware Limited Liability company;
   RSC of Florida LLC, a Florida Limited
   Liability company; YO! INC., a Nevada
   corporation; CHRISTOPHER FOUFAS,
   in his individual capacity and as an
   officer of RSC LLC and YO! INC.;
   BRANDON HAHN, in his individual
   capacity and as an officer of RSC LLC
   and YO! INC.


           Defendants.




                      RECEIVER’S SECOND STATUS REPORT
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         Pursuant to the Court’s Ex Parte Temporary Restraining Order with Asset

 Freeze and Appointment of Temporary Receiver (the “TRO and Asset Freeze Order”)

 [D.E. 11], 1 Stephanie A. Casey, in her capacity as Receiver of Defendants Altitude

 Processing, Inc. (“Altitude Processing”) and RSC LLC (“RSC”), and any other entities

 controlled or owned by them (collectively, the “Receivership Entities”) respectfully

 provides this First Status Report to apprise the Court of the Receiver’s activities to

 date.

    I.      Procedural Background.

         On November 27, 2023, the United States filed a complaint pursuant to 18

 U.S.C. § 1345 against the Defendants to enjoin the ongoing commission of a wire and

 bank fraud scheme preying upon individuals and small businesses in the United

 States. [D.E. 1.] The United States also sought ex parte emergency relief including

 the entry of a temporary restraining order freezing the assets of the Receivership

 Entities and appointing a temporary receiver. [D.E. 11.]

         According to the Complaint, Defendant Farhan Khan, with the assistance of

 Defendants Melissa Petit-Homme and Jeremy Todd Briley, perpetrated a scheme

 operated through Altitude Processing, sometimes doing business as “Clear Marketing


 1 The TRO and Asset Freeze Order requires the Receiver to file a status report every

 60 days with the Court. [D.E. 11, at 10.] On December 21, 2023, the Court entered a
 Preliminary Injunction Order [D.E. 45] that incorporated the language contained in
 the TRO and Asset Freeze Order with certain clarifications not relevant to the filing
 of the status report. The Receiver was required to file to file her first application for
 fees and costs no more than 60 days after the date of the TRO and Asset Freeze Order
 (i.e., January 29, 2024), and periodically thereafter. [D.E. 11, at 14; D.E. 67.] The
 Receiver intends to file her second application for fees and costs on or before April 8,
 2024.
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 Agency,” which charged small businesses or individuals for purported online

 marketing services that the victims either never signed up for or never received. The

 Complaint alleges Defendants RSC, YO! Inc. and their executives, Christopher

 Foufas and Brandon Hahn, opened several bank accounts used to process payments

 for the scheme and made unauthorized withdrawals from victims’ bank accounts for

 the benefit of Altitude Processing. Foufas allegedly managed a “customer service” call

 center for Altitude Processing that fielded victim complaints and offered refunds to

 try to dissuade complainants from reporting the unauthorized charges, while Hahn

 allegedly managed a “client portal” on client.runchecks.com, through which Khan and

 others uploaded victims’ payment information. According to the Complaint, Hahn

 also processed unauthorized charges and tracked victim refunds, and Khan managed

 a bogus website for Clear Marketing Agency (clearmarketingagency.com), which

 claimed to offer marketing services.

       On November 30, 2023, the Court entered the TRO and Asset Freeze Order

 [D.E. 11] granting the United States’ Ex Parte Motion for a Temporary Restraining

 Order and Order to Show Cause [D.E. 4]. Among other things, the TRO and Asset

 Freeze Order appointed the undersigned as the Temporary Receiver over the

 Receivership Entities and temporarily froze the assets of the Receivership Entities,

 pending the Court’s entry of a preliminary injunction.

       A hearing on the United States’ request for an entry of a preliminary injunction

 was held before Judge Goodman on December 14, 2023, and attended by the United

 States, the Receiver and her counsel, and Defendants RSC LLC, RSC of Florida LLC,

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 YO! Inc., Christopher Foufas, and Brandon Hahn. [D.E. 30.] The United States and

 the Defendants present at the hearing ultimately agreed on the entry of an agreed

 preliminary injunction. [D.E. 37.] On December 21, 2023, the Court entered an Order

 adopting Judge Goodman’s report and recommendation approving the Joint

 Stipulation of the United States, and Defendants Christopher Foufas, Brandon Hahn,

 RSC LLC, RSC of Florida LLC, and YO! Inc., which stipulated to the entry of a

 preliminary injunction in this matter (the “Preliminary Injunction Order”). [D.E. 45.]

       The Preliminary Injunction Order incorporated the language contained in the

 TRO and Asset Freeze Order with certain clarifications, including that: the

 preliminary injunction did not apply to an entity named The Payment Shop, LLC

 (“TPS”), except to the extent it was covered by virtue of its relationship with the other

 named Defendants; the American Commercial Bank and Trust would not encumber

 TPS’s accounts that were not otherwise governed by the preliminary injunction’s

 asset freeze; certain accounts at the American Commercial Bank and Trust were

 covered by the asset freeze (as further discussed below); the parties would confer on

 how to handle funds in one bank account referred to as the TPS Reserve Account (also

 discussed further below); additional TPS and YO! Inc. accounts would not be

 encumbered by the asset freeze; and Defendants Foufas and Hahn agreed to

 cooperate with the Receiver to ensure that the TPS payment gateway was not used

 to take any prohibited actions.

       Further, Defendant Melinda Petit Homme agreed to the entry of a consent

 decree and final judgment against her [D.E. 34], while Defendants Khan, Hahn,

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 Foufas, RSC LLC, RSC of Florida LLC, and YO! Inc. answered the complaint. [D.E.

 56, 57, 62.] A Clerk’s Default was entered as to Altitude Processing, Inc. and Jeremy

 Todd Briley on January 26, 2024 [D.E. 65]; a Motion for Default Final Judgment

 against them is pending [D.E. 82].

    II.     Actions Taken By The Temporary Receiver During the Reporting
            Period [January 20, 2024 through March 29, 2024].

          A. Physical Property.

          On December 5, 2023, search warrants were executed on certain premises,

 including two locations in Key Biscayne, Florida, associated with Defendants Foufas

 and RSC. One such Key Biscayne location included an office where, upon information

 and belief, Foufas managed the operations of RSC. After the search was concluded by

 law enforcement agents, the Receiver took possession of certain assets reasonably

 believed at the time to be in the possession, custody, or control of RSC, including

 computer monitors, computer accessories, blank checks, a check writing machine, and

 assorted office equipment. Obvious personal effects located in the office (including

 several suitcases and a trunk with clothes) were left behind, secured with a locked

 door. Receiver and her counsel subsequently provided counsel for Foufas with an

 inventory of items, which Foufas identified as personal items belonging to him

 individually, rather than items belonging to the Receivership Entities. Receiver and




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 her counsel returned the personal items on March 5, 2024; receipt of all items was

 confirmed in writing.

       No other physical property belonging to the Receivership Entities has been

 uncovered to date.

       B. Bank Accounts.

       On December 6, 2023, the Temporary Receiver sent letters enclosing the TRO

 and Asset Freeze to six different institutions, where funds of the Receivership

 Entities might be held. Of these banks, American Commercial Bank and Trust

 (“ACB”) was the only institution that identified open accounts that could be covered

 by the TRO and Asset Freeze. Twenty-five ACB open accounts were temporarily

 frozen.

       On December 14, 2023, Receiver and her counsel conferred with counsel for

 Foufas, and RSC LLC and RSC of Florida LLC (the “RSC entities”). The Preliminary

 Injunction Order reflects the understanding of the Receiver as to the ACB accounts,

 based on representations made by counsel for Foufas and the RSC entities. [D.E. 45,

 at 2-3.] Immediately following the entry of the Preliminary Injunction Order, the

 Receiver directed ACB to lift the temporary freeze on all ACB accounts except for the

 bank accounts titled in the name of or referencing one of the Receivership Entities:

 (i) THE PAYMENT SHOP LLC, FBO ALTITUDE PROCESSING INC, Account

 ****875; (ii) RSC, LLC ***361; and (iii) TPS Reserve Account ***717. The TPS

 Reserve Account holds funds for the benefit of Altitude Processing Inc., as well as



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 other entities. Should the Court expand the receivership to include TPS, this issue

 would become moot: all assets in the reserve account would remain frozen.

       The Receiver and her counsel obtained and reviewed the account records for

 the frozen ACB accounts, as well as certain other bank accounts that are currently

 closed but had been, prior to closure, in the name of the Receivership Entities. As

 part of the Receiver and her counsel’s investigation, an additional bank account at

 Middlesex Federal Savings, F.A. (“Middlesex”) was identified in the name of Altitude

 Processing, Inc.

       In total, the funds recovered from the Receivership Entities are:

  Financial Institution/Account                                Balance
  ACB Account x875                                             $98,912.49
  ACB Account x361                                             $904.66
  Middlesex Account x146                                       $10,227.78



 Additionally, the TPS Reserve Account holds $120,377.08.

       However, to date, the Receiver’s investigation has identified approximately

 $23 million that flowed from accounts held (or previously held) in the name of RSC

 or TPS to accounts held by Altitude Processing, Inc. and to third parties. To assist in

 further identification of assets and potential fraudulent transfers, subpoenas for

 records have been served on: Bank of America; Evolve Bank and Trust; Lead Bank;

 Silvergate Bank; and Legalcorp Solutions. Records have been received pursuant to

 those subpoenas from all the non-parties except for Legalcorp Solutions.

 Additionally, subpoenas for records have been issued to Wyre Payments and Windsor

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 Commerce, two entities that received a high volume of funds from the RSC accounts,

 but we have not yet been able to serve those non-parties.

        C. Discovery Efforts.

        The Preliminary Injunction Order requires Defendants and all persons in

 active concert or participation with them to “fully cooperate and assist the Receiver.”

 [D.E. 11, at 10.]

        On February 13, 2024, Receiver’s counsel took the sworn statement of

 Defendant Melinda Petit-Homme (pro se). It was confirmed that Ms. Petit-Homme has

 very limited substantive knowledge about Altitude Processing, Inc.

        On February 21, 2024, Receiver’s counsel took the deposition of Defendant

 Brandon Hahn, who provided further information on RSC’s systems and supposed

 customers. Mr. Hahn also provided access to the “client portal,” client.runchecks.com,

 which is owned by The Payment Shop, but also used by RSC. The Receiver will be able

 to use this information to identify the scheme’s victims.

        Defendant Farhan Khan has disclaimed ownership or control of Altitude

 Processing, Inc., has declined to identify any bank accounts associated with Altitude or

 his personal financial accounts, and has asserted his Fifth Amendment privilege against

 self-incrimination in response to all of the Department of Justice’s substantive allegations

 in the Complaint and also in response to discovery requests propounded by the Receiver.

 A hearing on Defendant Khan’s responses has been noticed by the Receiver for April 12,

 2024, at 2:30 pm. [D.E. 89.]


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       Finally, Receiver’s counsel is conferring with counsel for Defendant Christopher

 Foufas to schedule his deposition in April.

       D. Mail, Websites, and Phone Numbers.

       On December 6, 2023, the Temporary Receiver and her counsel visited a UPS

 Store where RSC was believed to have a postal box to receive mail. The Temporary

 Receiver learned the postal box is registered in the name of Defendant Foufas, and

 not the Receivership Entities. Counsel for the Temporary Receiver has been unable,

 as of yet, to ascertain whether mail to the Receivership Entities is received at that

 location.

       The Receiver has received access to the “client portal,” client.runchecks.com,

 which is owned by The Payment Shop.

       Finally, the Receiver created an email address to communicate with victims.

 This email address has been provided to ACB to provide to any victims who contact

 the bank for information. The Receiver has received proof of the unauthorized charges

 from several victims. The Receiver is awaiting further development in fund recovery

 before instating a plan to make full or prorated refund payments to victims.

       E. Ongoing Business Operations.

       There is no indication that any legitimate marketing services, or any other

 legitimate business services, were being supplied by the Receivership Entities. Thus,

 the Receiver has not assumed control over any ongoing business operations of the

 Receivership Entities.

    III.     Anticipated Next Steps.

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        The Receiver’s initial focus was on securing and maintaining the assets of the

  Receivership Entities. The Receiver has now opened a Receivership account to

  safeguard recovered funds. The Receiver anticipates taking the following actions in

  the next two months: (i) continue to identify sources of funds and assets; (ii) review

  transfers of funds and seek to recover funds that were fraudulently transferred; (iii)

  continue to identify potential victims of the alleged fraudulent conduct; (iv)

  investigate and commence litigation against third parties who may be liable for the

  perpetration of the Defendants’ fraud; and (v) continue to respond to inquiries from

  victims, creditors, government officials, and interested parties.

  Dated: March 29, 2024                          Respectfully submitted,

                                                 By: Stephanie A. Casey
                                                 Stephanie A. Casey
                                                 Florida Bar No. 97483
                                                 COLSON HICKS EIDSON, P.A.
                                                 255 Alhambra Circle, Penthouse
                                                 Coral Gables, Florida 33134
                                                 Telephone: 305.476.7400
                                                 scasey@colson.com

                                                 Court-Appointed Receiver




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              CERTIFICATE OF SERVICE ON UNREPRESENTED PARTIES

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served in the

  manner indicated below, on this 29th day of March, 2024, to the following:


   Counsel for United States of America           Counsel for Farhan Khan via CM/ECF
   via CM/ECF
                                                  James Allen Peterson
   Carolyn F. Rice                                Peterson Legal P.A.
   U.S. Department of Justice                     401 East Las Olas Boulevard
   Consumer Protection Branch                     Suite 130-550
   450 5th Street NW Suite 6400S                  Fort Lauderdale, FL 33301
   Washington, DC 20001                           754-444-8076
   Email: Carolyn.F.Rice@usdoj.gov                Email: James@PetersonLegal.com

   James Alan Weinkle
   DOJ-USAO
   USAO-Southern District of Florida
   Alto Lee Adams Federal Courthouse
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   772-293-0945
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   Counsel for RSC LLC, RSC of Florida LLC, Counsel for Brandon Hahn via CM/ECF
   YO! Inc., Christopher Foufas via CM/ECF
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   Via email                               Via Federal Express

   Melinda Petit-Homme individually and on Jeremy Todd Briley
   behalf of Altitude Processing Inc.      816 W Bear Lake Road
   ammccph@gmail.com                       Tallulah, LA 71282

                                                    Stephanie A. Casey
                                                    Stephanie A. Casey




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